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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

 

UNITED STATES OF AMERICA
Criminal No. l:lS-cr-00083-TSE

Judge T. S. Ellis, III

PAUL J. MANAFORT, JR.,

Defendant.

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NOTICE OF PROPOSED HEARING DATE FOR MOTION TO DISMISS
Defendant Paul J. Manafort, Jr., by and through counsel, and pursuant to Local Criminal

Rule 47(E), hereby provides notice of a proposed hearing date for his motion to dismiss (Dkt. #
30). Defendant has been in contact With the Off`ice of Special Counsel and the parties propose
May 4, 2018, at 9:00 a.m. as the hearing date for oral argument regarding the pending motion to
dismiss, subject to the Court’s availability and concurrence
Dated: April ll, 2018 Respectfully submitted,

/s/ Thomas E. Zehnle

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/s/ Kevin M. Downing
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Counselfor Defena'ant Paul J. Manafort, Jr,

CERTIFICATE OF SERVICE
I hereby certify that on the llth day of April, 2018, l Will electronically file the foregoing With
the Clerk of Court using the CM/ECF System, Which Will then send a notification of such filing
(NEF) to the following:

Andrew A. Weissman

Gre g D. Andres

U.S. Department of Justice

Special Counsel’s Office

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Washington, DC 20530

Telephone: (202) 616-0800

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/s/ Thornas E. Zehnle
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